Case 1:19-cv-24184-MGC Document 46 Entered on FLSD Docket 08/21/2020 Page 1 of 2



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                  TH E IJN ITED STA TE S D ISTR ICT C O U R T FILED BY   '     D C,        ,


                    SO U TH ERN D ISTR ICT O F FLO R ID A
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                                                                        ANGELA E.NOBLE
                                                                       CLE9K tl: DI
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                                                                       s.o.oFp1
                                                                              .
                                                                              k.-MI
                                                                                  AMI
        JA M E S B U CK M A N etal.,
                                           C A SE N O :19-CV -24184
        Plaintiff
        V s,

       LA N CA STER M O R TG A G E C O .Etal,.


               M O TION FO R JU D G E TO K EEP H ER W O RD




               l JA M E S B U CK M A N A M W RITIN G TH IS M O TIO N
       BECAUSE IRECIENTLY ENTERED A REQUEST FOR
       M O R E TIM E TO FIN ISH M Y A M EN D ED C O M PLA IN T
       O N A U G U ST 6,2020,A N D B ECA U SE TH E A M EN D ED
       COM PLA IN T IS VERY LEN TH Y 1N EED ED M ORE TIM E
       TO GO OV ER THE COM PLA IN T,AN D lN OTICE TH A T
       A N O R D ER W A S EN TERED IN TH E C O U R T FR O M TH E
       JU D G E O N TH E D O CK E T O N ITEM 42 EN TERED B Y TH E
       JU D G E O N 08/07/20 SA Y IN G W E TH E PLA IN TIFFS H A D
       IJNTIL 08/20/20,TO RESPON D SEE EXH IBIT A , B U T
       N O W TH EIR IS A LETTER FR O M TH E C O U R T SA Y IN G
       TH A T M Y C A SE H A S BEEN D ISM ISSED W ITH
       PREJUD ICE A S OF 08/17/20, W H IC H IS TH REE D A Y S
       B EFO R E IT IS D U E A C C O RD IN G TO Y O U R O R D ER O N
Case 1:19-cv-24184-MGC Document 46 Entered on FLSD Docket 08/21/2020 Page 2 of 2




        ITEM 42,TH EN W H Y IS M Y CA SE D ISM ISSED W ITH
        PREJUD ICE? W H Y IS IT TH A T 1A M N OT BEIN G SEN T
        A N Y LETTER S IN TH E M A IL A L SO ,1N EED M Y CA SE
        REIN STA TED B ECA U SE IT IS N O T A U G U ST 20TH Y ET,I
        W O U LD LIK E TO PR O CEED W ITH M Y CA SE ,
        TH ER EFO R E TH E C O U R T M U ST K EEP lTS 0 %       W O ItD
        ESPECIA LLY O N lTS 0 %          O R D ER 1W O U LD LIK E TO
        TU RN IN M Y SECO N D A M EN D ED CO M PLA IN T
        TO TA LLY CO M PLETE TH A N K Y O U .




                 SIG N ED
                             JA    S B U CK M A
                             15 0 S.RIV ER D R .
                             M IA M I,FL .33167


                              M A U R ICE S M O N ETTE
                              15020 SO U TH R IV ER D R .
                              M IA M I,FL .33167


                    C E R TIFIC A T E O F SE R V IC E




          IH EREBY CElW lFY thatatrueand correctcopy ofthe
        foregoing hasbeen furnished by U.S.M ailor E-file to:
        BLA NK RO M E LLP,DanieIS.H UrteS cc,Nicole R.Topper To
        alIinvolved.
